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   12
   13                           UNITED STATES DISTRICT COURT
   14          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15 VANESSA BRYANT,                                 Case No. 2:20-cv-09582-JFW(Ex)
   16                                                 PLAINTIFF’S REPLY BRIEF RE
                   Plaintiff,                         MONELL CLAIM
   17
             vs.                                      Final Pretrial Conference:
   18                                                         July 8, 2022 at 8:00 a.m.
   19 COUNTY OF LOS ANGELES, et al.,
                                                      Hearing on Motions in Limine:
   20                                                        July 15, 2022 at 8:00 a.m.
                   Defendants.
   21
                                                      Trial Date: July 26, 2022
   22
   23                                                 The Honorable John F. Walter
   24
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   28
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    1 I.      INTRODUCTION
    2         Defendants’ Responsive Brief reveals their “abandonment” argument for
    3 what it really is: a thinly-veiled and unjustified request for reconsideration of the
    4 Court’s denial of their summary judgment motion. Relying on cases where the
    5 district court granted summary judgment or partial summary judgment on the
    6 relevant claim or issue, Defendants contend that the Court likewise should have
    7 granted summary judgment on Plaintiff’s Monell claim. But the Court did the
    8 opposite; it denied Defendants’ summary judgment motion in its entirety. And for
    9 good reason: Defendants’ motion did not show entitlement to summary judgment
   10 and Plaintiff adduced evidence showing triable issues of material fact on all claims.
   11         Defendants cite no precedent holding that a plaintiff who defeats a summary
   12 judgment motion in its entirety abandons arguments or evidence that she supposedly
   13 did not use to defeat the motion. On the contrary, cases hold that the denial of
   14 summary judgment has no effect on the preservation of arguments and evidence for
   15 trial. And Defendants do not even attempt to establish, and cannot establish,
   16 grounds for reconsideration of the Court’s denial of summary judgment.
   17 II.     ARGUMENT
   18         A.    A Party Who Defeats Summary Judgment Does Not Forfeit
                    Additional Arguments It Could Have Used to Defeat the Motion
   19
   20         As Plaintiff showed in her opening brief, a party who successfully opposes
   21 summary judgment is not required to make every argument or cite all evidence it
   22 may use at trial in order to preserve them; it need only convince the Court that there
   23 are triable issues of material fact precluding judgment. If a party loses summary
   24 judgment on a claim or issue, it may forfeit additional arguments it could have made
   25 because that party generally will not be able to seek reconsideration on grounds it
   26 could have raised or present on appeal arguments it did not raise in the district court.
   27 But a denial of summary judgment decides nothing other than “that the case should
   28 go to trial.” Watson v. Amedco Steel, Inc., 29 F.3d 274, 277 (7th Cir. 1994). When

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    1 summary judgment on a claim or issue is denied, a party at trial is free to contest
    2 additional facts that it didn’t contest at summary judgment,1 introduce additional
    3 evidence that it didn’t use at summary judgment,2 and argue additional theories that
    4 it didn’t argue at summary judgment,3 so long as that information was properly
    5 disclosed and preserved at other stages of the case, as here.
    6         None of Defendants’ cases are to the contrary. They all involve summary
    7 judgment being granted (in whole or in relevant part) after a party failed to contest a
    8 point. None of Defendants’ cases hold that a plaintiff who successfully defeats
    9 summary judgment on a claim or issue forfeits additional arguments or evidence that
   10 the plaintiff did not raise. In particular, all of Defendants’ Ninth Circuit cases
   11 involve district courts granting summary judgment and the court of appeals noting it
   12 would not consider on appeal arguments not raised in the district court.4 Similarly,
   13
        1
         See, e.g., Fed. R. Civ. P. 56, Comm. Note to 2010 Am., subdiv. (e)(2); In re
   14
        Outlaw Lab’y, LP Litig., 2020 WL 5552558, at *14 n.1 (S.D. Cal. Sept. 16, 2020).
   15   2
        See, e.g., Locricchio v. Legal Servs. Corp., 833 F.2d 1352, 1359 (9th Cir. 1987);
   16 Beem v. Providence Health & Servs., 2011 WL 13228199, at *2 (E.D. Wash. Dec.
      12, 2011).
   17 3
        See, e.g., Long v. Howard Univ., 550 F.3d 21, 24 (D.C. Cir. 2008); U.S. Bank Nat’l
   18 Ass’n v. PHL Variable Ins. Co., 2015 WL 4610894, at *2 (S.D.N.Y. July 30, 2015);
   19 Bequeath v. L.B. Foster Co., 367 F. Supp. 2d 779, 787 & n.5 (W.D. Pa. 2005).
      4
   20 See Ramirez v. City of Buena Park, 560 F.3d 1012, 1026 (9th Cir. 2009) (district
      court granted summary judgment; plaintiff “waived his challenge to the district
   21 court’s order” as to state law claims by not addressing them below); Shakur v.
   22 Schriro, 514 F.3d 878, 892 (9th Cir. 2008) (summary judgment granted; by failing
      to raise Establishment Clause claim in his opposition to motion, plaintiff “failed to
   23 preserve this issue for appeal”); Davis v. City of Las Vegas, 478 F.3d 1048, 1058-59
   24 (9th Cir. 2007) (summary judgment granted; although plaintiff failed to address state
      law claim in opposition, he preserved right to appeal by addressing it in cross-
   25 motion); BankAmerica Pension Plan v. McMath, 206 F.3d 821, 825-26 (9th Cir.
   26 2000) (summary judgment granted; appellant not permitted to dispute on appeal a
      point it conceded at hearing in district court); Coleman v. Bank of N.Y. Mellon, 798
   27 F. App’x 131, 132 (9th Cir. 2020) (summary judgment granted; plaintiff forfeited
   28 challenge to dismissal of certain claims by failing to address them in opposition to

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    1 all of Defendants’ district court cases in which a plaintiff loses the right to pursue a
    2 claim or issue at trial involve the court granting summary judgment or partial
    3 summary judgment on that claim or issue on the ground that the party had conceded
    4 the point by failing to respond to it in its opposition.5
    5
    6 motion because “[w]e do not consider … arguments and allegations raised for the
    7 first time on appeal”); Long v. Pend Oreille Cnty. Sheriff’s Dep’t, 269 F. App’x 749,
      750-51 (9th Cir. 2008) (summary judgment granted; plaintiff forfeited challenge to
    8 dismissal of false arrest claim by not raising it below). Defendants also cite Jenkins
    9 v. Cnty. of Riverside, 398 F.3d 1093, 1095 n.4 (9th Cir. 2005), where the court noted
      as background that the district court had granted summary judgment at an earlier
   10 stage and that the plaintiff had abandoned two claims by not addressing them in her
   11 opposition. But there is no indication that plaintiff disputed that she had abandoned
      the claims, which were not addressed on appeal from that prior order. See Jenkins v.
   12 Cnty. of Riverside, 25 F. App’x 607, 608 (9th Cir. 2002). Defendants also cite In re
   13 Com. Acceptance Corp., 1993 WL 327833, at *3 (9th Cir. Aug. 27, 1993), but that
      unpublished decision may not be cited, see 9th Cir. R. 36-3(c), and in any event it,
   14 too, involved the granting of summary judgment and a party raising on appeal an
   15 issue she failed to raise below.
      5
   16 See Long Beach Unified Sch. Dist. v. Santa Catalina Island Co., 2021 WL
      4706552, at *14 (C.D. Cal. Aug. 17, 2021) (Walter, J.) (granting summary judgment
   17 on private nuisance claim before limitations period because plaintiff conceded point
   18 by not addressing it in its brief); Ratha v. Phatthana Seafood Co., 2017 WL
      8293174, at *3 & n.3 (C.D. Cal. Dec. 21, 2017) (Walter, J.) (granting summary
   19 judgment on only claim asserted against party); Ames v. Cnty. of San Bernardino,
   20 2020 WL 5875012, at *8 (C.D. Cal. July 30, 2020) (granting summary judgment as
      to separate claims for Monell liability for failure to train and for ratification because
   21 plaintiff did not defend those claims in opposition); Perkins v. City of Anaheim,
   22 2021 WL 3598730, at *15 (C.D. Cal. Apr. 26, 2021) (granting summary judgment
      on Monell claim because plaintiffs did not address Monell issue or provide evidence
   23 of unconstitutional custom or policy); Williams v. Cnty. of San Diego, 523 F. Supp.
   24 3d 1183, 1198-99 (S.D. Cal. 2021) (granting summary judgment on Monell claim,
      rejecting one theory and concluding the other had been intentionally abandoned and
   25 conceded); Vincent v. Reyes, 2020 WL 5893395, at *5 (N.D. Cal. Oct. 5, 2020)
   26 (granting summary judgment on Monell claim because “Plaintiff does not oppose
      Defendants’ motion as to his Monell claim” and failed “to offer any argument or
   27 evidence in opposition”); Cobarrubia v. Edwards, 2021 WL 735470, at *7 (N.D.
   28 Cal. Feb. 25, 2021), reconsideration denied, 2021 WL 4846948 (June 4, 2021)

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    1         That is not what happened here. The Court did not grant any part of
    2 Defendants’ summary judgment motion, whether on the ground that Plaintiff had
    3 conceded a point or otherwise. Instead, the Court denied summary judgment in its
    4 entirety because genuine issues of material fact precluded judgment in Defendants’
    5 favor. (ECF No. 227.) In that circumstance, as Plaintiff’s authorities show, nothing
    6 has been decided except that the case must go to trial, and nothing was forfeited.
    7         Because Defendants have no authority to support their abandonment
    8 argument where summary judgment is denied in its entirety or on the relevant claim
    9 or issue, they attempt to distinguish the cases Plaintiff cited. But those claimed
   10 distinctions do not hold up. For example, Defendants purport to distinguish U.S.
   11 Bank and Long on the ground that the moving party had not addressed the issue in
   12 its motion papers. But those decisions plainly did not turn on that fact, but rather on
   13 whether the defendant had survived summary judgment on the claim.
   14         The decision in U.S. Bank N.A. v. PHL Variable Ins. Co., 2015 WL 4610894
   15 (S.D.N.Y. July 30, 2015) does not say whether the moving defendant specifically
   16 addressed the particular breach of contract theory in its moving papers, but it is clear
   17 the defendant moved for summary judgment on all claims, including on the entirety
   18 of the plaintiff’s breach of contract claim. See U.S. Bank N.A. v. PHL Variable Ins.
   19 Co., 2014 WL 2199428, at *1, 6-14 (S.D.N.Y. May 23, 2014). The court granted
   20 the motion in part and denied it in part, holding that one theory of breach was
   21
   22 (granting summary judgment on one theory of excessive force because plaintiff did
      not address it). Defendants also cite Whitaker v. Simha P’ship, 2020 WL 2036653,
   23
      at *1 & n.1 (C.D. Cal. Jan. 21, 2020) (Walter, J.), but there the plaintiff had sought
   24 summary judgment on one of his two claims without mentioning the other, and the
      Court simply noted that it “presumes that Plaintiff has abandoned” the other claim.
   25
      Id. The Court did not hold that the plaintiff would be precluded from pursuing the
   26 claim at trial after the motion was denied. Nor would that make sense: A party may
      seek partial summary judgment on one claim, and there is no requirement to move
   27
      for summary judgment on all claims to preserve them. See, e.g., Move, Inc. v. Real
   28 Est. All. Ltd., 221 F. Supp. 3d 1149, 1157 (C.D. Cal. 2016).

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    1 foreclosed but two others could go to trial. Id. The plaintiff then raised a fourth
    2 theory of breach in the joint pretrial order. U.S. Bank, 2015 WL 4610894, at *2.
    3 Because the theory was sufficiently covered by the complaint, and because the
    4 defendant survived summary judgment on the claim, it was free to pursue that
    5 theory at trial. The failure to raise the theory in opposition to summary judgment
    6 meant that the plaintiff had “forfeited its right to use the [theory] in order to defeat
    7 [defendant’s] summary judgment motion.” Id. But having defeated summary
    8 judgment on other grounds, and given “the well-established” principle that “a party
    9 need not raise on summary judgment every argument it intends to advance at trial,”
   10 the failure to raise it in opposition to summary judgment “means nothing other than
   11 that the argument is reserved for trial.” Id. The same is true here.
   12         The decision in Long v. Howard Univ., 550 F.3d 21 (D.C. Cir. 2008) likewise
   13 does not say whether the moving party raised the affirmative defense to the
   14 discrimination claim in its moving papers. But a string of decisions by the D.C.
   15 Circuit shows that this is not a relevant distinction. In United Mine Workers of Am.
   16 1974 Pension v. Pittston Co., 984 F.2d 469, 478 (D.C. Cir. 1993), the D.C. Circuit
   17 held that a defendant who lost summary judgment waived affirmative defenses it
   18 failed to raise in opposition to summary judgment on plaintiffs’ claim. There is no
   19 indication that the moving plaintiffs addressed the affirmative defenses in their
   20 motion. Rather, the court noted that, “[s]ince disposition on summary judgment
   21 would resolve the case as a matter of law, [defendant] naturally should have briefed
   22 dispositive legal defenses like the running of the limitations period.” Id. And “the
   23 failure to raise an affirmative defense in opposition to a motion for summary
   24 judgment constitutes an abandonment of the defense.” Id. (citing Pantry, Inc. v.
   25 Stop-N-Go Foods, Inc., 796 F. Supp. 1164, 1167-68 (S.D. Ind. 1992) (defendant
   26 who lost summary judgment on liability waived affirmative defenses by not
   27 presenting them in opposition to motion; plaintiff was not obligated to raise
   28 affirmative defenses in its motion)). In Long, however, the defendant also did not

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    1 raise an affirmative defense in opposing summary judgment but nevertheless
    2 preserved the defense for trial. 550 F.3d at 24-25. The difference was that—like
    3 here—the party defeated summary judgment on other grounds and had preserved the
    4 defense in its pleading and other submissions. See id.; Long v. Howard Univ., 439
    5 F. Supp. 2d 68, 70 (D.D.C. 2006); Daingerfield Island Protective Soc’y v. Babbitt,
    6 40 F.3d 442, 445 (D.C. Cir. 1994) (distinguishing Pittston on the ground that
    7 defendant there attempted to “rais[e] those defenses for the first time after summary
    8 judgment had been granted in the plaintiff’s favor” (emphasis added)).
    9         Turning to Bequeath and Armbruster, Defendants argue that the
   10 discrimination claims at issue there were “unique” because “the plaintiff [did] not
   11 have to elect to proceed under a specific theory” and the judge would decide
   12 whether the evidence presented at trial supported instructions on either theory.
   13 (Defs.’ Br. 13-14.) But the same is true of Monell liability. Just as a plaintiff can
   14 attempt to prove unlawful employment discrimination under either a “pretext” or a
   15 “mixed motive” theory and there are different jury instructions for each, Armbruster
   16 v. Unisys Corp., 32 F.3d 768, 782 n.17 (3d Cir. 1994), Plaintiff here can prove
   17 Monell liability under either a theory of custom/practice or a policy of inaction and
   18 there are different instructions for each. No authority requires Plaintiff to elect
   19 between the two theories before trial; both instructions should be given if the
   20 evidence supports both. See, e.g., United States v. Heredia, 483 F.3d 913, 923 (9th
   21 Cir. 2007); Chew v. Gates, 27 F.3d 1432, 1440 (9th Cir. 1994); Curtin v. Cnty. of
   22 Orange, 2018 WL 10320668, at *13 (C.D. Cal. Jan. 31, 2018).
   23         B.    Defendants Do Not Show That the Court Erred by Failing to
                    Dismiss the Monell Claim
   24
   25         What Defendants are really arguing is that the Court, in ruling on Defendants’
   26 motion for summary judgment, should have dismissed the Monell claim.
   27 Defendants argue that Plaintiff did not sufficiently contest their arguments about
   28 liability under a custom/practice or failure to investigate/discipline theory, so the

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    1 Court should have dismissed those theories as forfeited. Defendants also argue that
    2 Plaintiff’s evidence at summary judgment did not support even a theory of failure to
    3 train, such that the Court apparently should have dismissed the entire claim. (See
    4 Defs.’ Br. 22-23.) Defendants made these same arguments in their summary
    5 judgment reply brief. (ECF No. 206 at 11-14.) The Court rejected them, denying
    6 Defendants’ motion in its entirety. (ECF No. 227.)
    7        What Defendants truly seek is reconsideration of the Court’s denial of
    8 summary judgment. But they have not complied with Local Rule 7-18, which
    9 among other things requires reconsideration to be sought within 14 days of the order
   10 and prohibits a party from repeating arguments made in support of the original
   11 motion. “A motion for reconsideration is not a vehicle for taking a ‘second bite at
   12 the apple.’” Williams v. Cnty. of San Diego, 542 F. Supp. 3d 1070, 1072 (S.D. Cal.
   13 2021). Defendants have not shown new facts or law that could not have been
   14 presented with the motion. Nor have they made a manifest showing of the Court’s
   15 failure to consider material facts. See C.D. Cal. Civ. L.R. 7-18. On the contrary, the
   16 Court was correct to deny the motion, and should not permit Defendants to sidestep
   17 the rules.
   18               1.    The Court Properly Denied Summary Judgment on the
                          Entire Monell Claim under Any One Theory
   19
   20        Plaintiff asserted a single claim—Claim 1—against the Agency Defendants
   21 alleging Monell liability under 42 U.S.C. § 1983 for violation of the Fourteenth
   22 Amendment. (ECF No. 54 ¶¶ 78-86.) Defendants’ motion sought summary
   23 judgment on this claim in its entirety, and while it addressed several possible bases
   24 for Monell liability, it did not specify that it was seeking partial summary judgment
   25 on each theory as opposed to the entire claim. (See ECF No. 169 at 3-4 (Notice of
   26 Mot. & Mot.); ECF No. 169-1 at 18-26, 31 (Mem. of P. & A.).) In any event, the
   27 existence of genuine issues of material fact for trial under any theory of Monell
   28 liability was sufficient to defeat summary judgment on Claim 1. Plaintiff did not

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    1 need to demonstrate, and the Court did not need to reach, other theories.6
    2                2.     Summary Judgment Was Properly Denied on a
                            Custom/Practice Theory
    3
    4         Even if partial summary judgment on the custom/practice theory had been

    5 requested, it was properly denied. First, Defendants’ motion did not establish the
    6 absence of genuine issues of material fact on this theory. The motion acknowledged
    7 the Sheriff’s admissions that taking and sharing death photos was a longstanding
    8 problem in law enforcement throughout the country, including Los Angeles. (ECF
    9 No. 169-1 at 25-26 (citing FAC ¶ 83 and SSUF ¶¶ 91, 92).) Thus, denial was
   10 appropriate “even if no opposing evidentiary matter [had been] presented” or even if
   11   6
          See, e.g., Penniston v. City of N.Y., 2017 WL 11507663, at *13 (E.D.N.Y. Dec. 15,
   12   2017) (“Because the Court concludes that there is a basis for Monell given Principal
        K’Tori’s policymaking status, there is no need to address Plaintiff’s alternative
   13   deliberate indifference theory of § 1983 liability. Defendants’ motion for summary
   14   judgment with respect to Monell liability is denied.”); Thomas v. Cannon, 2017 WL
        2289081, at *13 n.6 (W.D. Wash. May 25, 2017) (“Because the Court has
   15
        determined that Plaintiff’s ratification theory is sufficient to defeat Defendants’
   16   Motion [for Summary Judgment] as to this [Monell] claim, it is unnecessary to
        determine whether Plaintiffs could also defeat Defendants’ Motion with” another
   17
        theory); Humphreys & Partners Architects, L.P. v. Lessard Design, Inc., 43 F. Supp.
   18   3d 644, 664 & n.12 (E.D. Va. 2014) (triable issue of fact under one theory meant
        defendants’ summary judgment motion “must be denied and [plaintiff’s] alternative
   19
        theories of liability need not be addressed”); Lerro v. Wal-Mart Stores, Inc., 2009
   20   WL 10684916, at *2 n.1 (E.D. Pa. July 14, 2009) (“As plaintiffs have shown that
        genuine issues of material fact exists on the issue of whether defendant had notice, I
   21
        need not consider alternative theories of negligence.”); Lexington Ins. Co. v.
   22   Henkels & McCoy, Inc., 2002 WL 32130104, at *4 n.5 (E.D. Pa. May 20, 2003)
        (because summary judgment should be denied under agency theory of liability, “the
   23
        Court does not reach Plaintiff’s alternative argument” of enterprise liability);
   24   California v. Verticare Inc., 1993 WL 245544, at *10 & n.13 (N.D. Cal. Mar. 1,
        1993 (summary judgment denied because “a genuine issue of material fact remains”
   25
        on one theory of liability; “the court need not consider” plaintiff’s alternate theory);
   26   Tunis v. Corning Glass Works, 698 F. Supp. 452, 460-61 (S.D.N.Y. 1988) (because
        defendant “not entitled to a summary judgment” of harassment claim on one of
   27
        plaintiff’s theories, “the court does not consider [plaintiff’s] alternative theories”
   28   and defendants’ motion was “denied in all respects.”).

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    1 no opposition had been filed at all. See, e.g., Adickes v. S.H. Kress & Co., 398 U.S.
    2 144, 160 (1970); Heinemann v. Satterberg, 731 F.3d 914, 916-17 (9th Cir. 2013);
    3 Henry v. Gill Indus., Inc., 983 F.2d 943, 950 (9th Cir. 1993); Fowzer v. Cnty. of San
    4 Bernardino, 2018 WL 5880774, at *2-3 (C.D. Cal. Aug. 7, 2018). Second, Plaintiff
    5 argued that genuine disputes of material fact precluded summary judgment (ECF
    6 No. 190 at 2, 10) and cited extensive evidence of a widespread and longstanding
    7 practice of Southern California first responders taking and sharing death photos.
    8 (See ECF No. 191 ¶¶ 82, 91, 92, 128, 491-96, 571-76; ECF No. 190 at 2-3, 18-19.)
    9         As in their summary judgment papers, Defendants simply ignore this
   10 extensive evidence of custom and practice. Defendants say they “submitted
   11 evidence that there have been no other complaints of LASD or LACFD personnel
   12 doing anything similar” (Defs.’ Br. 9), but fail to mention that Plaintiff specifically
   13 controverted that fact, including by pointing to a prior incident in which LACFD
   14 personnel were investigated for taking pictures of a deceased victim whose “chest
   15 cavity was filleted open” (ECF No. 191 ¶¶ 82, 495) and with expert testimony that a
   16 dearth of complaints is consistent with the expert’s experience of widespread
   17 sharing among coworkers, friends or family who are reluctant to report it (id. ¶ 576).
   18 Defendants similarly assert that their motion showed that “Sheriff Villanueva’s
   19 public comments about a general problem in law enforcement ‘across the nation’
   20 relating to officers taking photos of crime scenes is not evidence of any practice or
   21 custom within LASD” (Defs.’ Br. 9), but again fail to note that Plaintiff specifically
   22 disputed that assertion, showing that the evidence Defendants cited did not support
   23 it and that the Sheriff had admitted that his statement drew on his experience with
   24 LASD and applied specifically “to Los Angeles.” (ECF No. 191 ¶¶ 91-92.)
   25         Most brazenly, Defendants falsely assert that the “[t]he only ‘evidence’
   26 Plaintiff has is a public comment by Sheriff Villanueva.” (Defs.’ Br. 15.) Plaintiff
   27 cited extensive additional evidence of Defendants’ custom and practice including:
   28 (1) expert testimony that there is a “widespread practice of unnecessarily taking,

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    1 sharing, and keeping photos of human remains” among Southern California law
    2 enforcement that is “pervasive and embedded in law enforcement culture” dating
    3 back to at least 1983 (ECF No. 191 ¶¶ 571-76; ECF No. 190 at 19:3); (2) testimony
    4 by an LASD deputy that he used his personal cell phone to take photos of dead
    5 bodies “a hundred times” when responding to “natural disasters, accidents, traffic
    6 collisions,” “murders,” and “suicides” (ECF No. 191 ¶ 491); (3) testimony by
    7 LACFD personnel that other firefighters “would take photos and keep books of dead
    8 bodies” that were “graphic” and “gruesome,” and share human remains photos
    9 within the department (id. ¶¶ 492, 494); and (4) the “sheer scale of the wrongdoing”
   10 in this case (ECF No. 190 at 19; id. at 3-7, 12-13), see also Menotti v. City of
   11 Seattle, 409 F.3d 1113, 1147-48 (9th Cir. 2005) (several violations on same day
   12 create triable issue of fact on widespread practice); Grandstaff v. City of Borger, 767
   13 F.2d 161, 171 (5th Cir. 1985). Indeed, Defendants conceded in motion in limine
   14 briefing that Plaintiff’s expert’s “opinion about the ‘pervasive’ practice of improper
   15 taking and sharing of death images”—which Plaintiff pointed to in her summary
   16 judgment opposition papers—“falls squarely within the ‘pattern of practice and/or
   17 custom’ theory” that Defendants contend has been abandoned. (ECF No. 276 at 17.)
   18               3.     Plaintiff Presented Evidence of Failure to Investigate and
                           Discipline, Which Is Not an Independent Theory of Liability
   19
   20         As Plaintiff explained in her brief, “failure to discipline is not a separate
   21 ground for establishing municipal liability. Rather, it is evidence that tends to
   22 establish the absence of or failure to enforce a policy ….” Conn v. City of Reno, 591
   23 F.3d 1081, 1105 (9th Cir. 2010), cert. granted, judgment vacated, 563 U.S. 915
   24 (2011), opinion reinstated in relevant part, 658 F.3d 897 (9th Cir. 2011).
   25 Defendants concede this. (Defs.’ Br. 23:12-14.) Many Ninth Circuit cases hold that
   26 failure to investigate or discipline—including post-incident—is circumstantial
   27 evidence of a pre-existing affirmative custom or practice or a pre-existing policy of
   28 deliberate indifference in the form of a failure to train or implement needed policy.

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    1 (See Pl.’s Br. 6-8 & nn.2-4.) It is thus undisputed that Defendants’ failure to
    2 investigate or discipline was not an independent theory or claim for liability on
    3 which summary judgment could have been granted, but merely a category of
    4 evidence that could support another Monell theory at summary judgment or trial.
    5         Defendants also cannot dispute the well-established principle that a party is
    6 not limited at trial to the evidence it used to oppose summary judgment. (See Pl.’s
    7 Br. 15-16.) Defendants attempt to distinguish the many cases cited by Plaintiff, but
    8 cannot point to even a single case holding that a party abandons evidence by not
    9 citing it in a successful opposition to summary judgment. That would be contrary to
   10 Rule 56’s directive that a party who defeats summary judgment is “free to contest”
   11 at trial a fact that was undisputed at summary judgment, Outlaw, 2020 WL 5552558,
   12 at *14 n.1, and the Ninth Circuit’s holding that a trial verdict can be upheld even if
   13 summary judgment should have been granted on the record then presented, see
   14 Locricchio, 833 F.2d at 1359. Thus, the evidence of Defendants’ failure to
   15 investigate and discipline—as support for a theory of liability due to Defendants’
   16 policy of action or inaction—is not something that could have been “abandoned” by
   17 failing to use it in successfully opposing summary judgment. This alone disposes of
   18 Defendants’ abandonment argument as to failure to investigate or discipline.
   19         In any event, Plaintiff did cite extensive evidence of Defendants’ irregular
   20 and delayed investigation, deliberate decision not to discipline various misconduct,
   21 and decision to instead discipline a whistleblower who raised concerns about it.
   22 (See ECF No. 190 at 8; ECF No. 191 ¶¶ 33, 49, 189, 354-428, 436-63, 577-90.)
   23 Plaintiff also responded directly to Defendants’ legal conclusion that post-incident
   24 conduct was irrelevant because it could not have caused the violation. (See ECF No.
   25 169-1 at 24-25.) Plaintiff countered that Defendants’ conclusion has been rejected
   26 by the Ninth Circuit, which has instead held that post-violation conduct can be
   27 “highly probative” as circumstantial evidence of the agency’s pre-existing policy of
   28 deliberate indifference. (ECF No. 191 ¶¶ 107-08.)

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    1         As they did in their summary judgment motion, Defendants tell a one-sided
    2 story about their investigation and disciplinary decisions, ignoring key facts and
    3 drawing inferences in their own favor from disputed facts. Plaintiff pointed this out
    4 in her summary judgment brief (ECF No. 190 at 2, 8, 10) and in her separate
    5 statement where she controverted Defendants’ “facts” and cited extensive additional
    6 evidence of Defendants’ improper investigation and discipline (ECF No. 191 ¶¶ 33,
    7 49, 189, 354-428, 436-63, 577-90). That evidence tells a compelling story of
    8 Defendants’ deliberate indifference and condoning of widespread practices.
    9         Unable to show that Plaintiff “abandoned” evidence of Defendants’ failure to
   10 train or discipline—the issue the Court directed the parties to brief—Defendants
   11 shift gears to argue the evidence should be excluded because it is irrelevant or would
   12 prolong trial and waste time. (Defs.’ Br. 18-23.) This is a transparent and improper
   13 attempt at an additional motion in limine, which should be rejected for that reason
   14 alone. The arguments fail in any event. Defendants assert that the evidence only
   15 goes to an “abandoned failure to investigate/discipline claim” (id. at 19), but there is
   16 no such claim recognized in the law. Defendants further argue that the evidence
   17 cannot show the existence of an unofficial custom/practice of taking and sharing
   18 death photos, or deliberate indifference to the risk of such violations in the absence
   19 of clear policies and training. (Id. at 20-23.) But Plaintiff cited numerous cases
   20 holding the opposite (see Pl.’s Br. 6-8 & nn.2-4). Defendants attempt to distinguish
   21 those cases by arguing that what happened here was “unprecedented” (Defs.’ Br. 22,
   22 23), but that is belied by the evidence—including Sheriff Villanueva’s and other
   23 employees’ admissions and Plaintiff’s expert’s testimony—and the law, see Menotti,
   24 409 F.3d at 1148 (failure to discipline several violations from same day shows
   25 practice); Grandstaff, 767 F.2d at 171 (same, despite “no incidents prior”). Lastly,
   26 evidence relating to Defendants’ investigation and disciplinary decisions is relevant
   27 and admissible for other reasons discussed in connection with several pending
   28 motions in limine. (See ECF Nos. 235, 240, 249, 252, 253, 255, 276.)

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    1 DATED: March 7, 2022             WILSON SONSINI GOODRICH & ROSATI,
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